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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


PAMELA WOLOSKY,                                  :       Civil Action No. 2:14-cv-00804-NBF

                                                 :

                         Plaintiff,              :       JURY TRIAL DEMANDED

vs.                                              :

                                                 :
                                                 :
TRINITY AREA SCHOOL DISTRICT,                    :
PAUL KASUNICH, AMY MCTIGHE,                      :
                                                 :

                           Defendants.


      DEFENDANT’S MOTION FOR LEAVE TO FILE A REPLY TO PLAINTIFFS’
      NOTICE OF SUPPLEMENTAL AUTHORITY IN SUPPORT OF PLAINTIFF’S
       RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

       Defendants Trinity Area School District, Dr. Paul Kasunich, and Amy McTighe by and

through their attorneys, John Smart, Esquire and the law firm of Andrews & Price, LLC file the

following Motion for Leave to File a Reply to Plaintiffs’ Notice of Supplemental Authority in

Support of Plaintiff’s Response in Opposition to Defendants’ Motion to Dismiss [attached hereto

as Exhibit A] averring as follows:

       1.      On October 29, 2014, Plaintiff filed a Notice of Supplemental Authority in

Support of Plaintiff’s Response in Opposition to Defendants’ Motion to Dismiss [Doc. 16].

       2.      Plaintiff did not seek leave of Court to file a Notice of Supplemental Authority.

       3.      Plaintiff’s Notice of Supplemental Authority raises a long-standing theory of

liability, rather than a new theory.




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         4.    Plaintiff’s Notice also contains matters not initially addressed in Plaintiff’s

Response in Opposition to Defendants’ Motion to Dismiss [Doc. 14].

         5.    Defendants request leave to file a Reply to Plaintiffs’ Notice of Supplemental

Authority in Support of Plaintiff’s Response in Opposition to Defendants’ Motion to Dismiss,

attached hereto as “Exhibit A”.

         WHEREFORE, Defendants Trinity Area School District, Dr. Paul Kasunich, and Amy

McTighe respectfully request that this Honorable Court grant their request for leave to file a

Reply.


                                    Respectfully submitted,

                                    ANDREWS & PRICE

                                    By:    /s/ Amie A. Thompson
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